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United States Distriet Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
BRANDI BULL §
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v § CIvlL ACTION No. 3 ; 1 s~cv~zooz_s
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CITY oF RoWLETT §

MEMORANDUM OPINION AND ORDER

This Order addresses Defendant City of Rowlett’s (“Defendant” or “City”) Motion to
Dismiss [ECF No. 6]. For the reasons set forth below, the Motion is granted in part and denied in
parr

I. BACKGROUND

Beginning on November 25, 2013, Plaintiff Brandi Bull (“Plaintiff”) Was employed in the
City’s Human Resources (“HR”) Department. Compl. 1[ 3.1. According to Plaintiff, she “soon
realized that she Was Working in a very hostile Worl< environment created and perpetuated by [HR}
Director John Murray’s constant unprofessional behavior.” ]d. Murray allegedly made
“comments about staff members’ breasts and buttocks,” told people that “he hired his staff based

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on their ‘le() pietures, Walk[ed] around With no shirt on and . . . ask[ed] his staff, including
[Plaintift], to touch his pecS and biceps,” and “asked [Plaintiff] about her personal sex life.” Id.
In the summer of 2014, Murray allegedly began having an affair With Wendy Badgett, the
City’s Assistant Director of Finance. Ia’. 11 3.2. According to Plaintiff, “l\/lurray slowly started
shifting responsibility from . . . Badgett’s department to the {HR} department.” Id. 1[ 3.3. Plaintiff

claims that the Situation became “dysfunetional” and that she lived in fear ofretaliation, as Murray

 

 

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allegedly stated several times that he would “rip the heart out of anyone that crossed him with his
bare hands.” ld.

In May of 201 5, Plaintiff requested a meeting With Assistant City Manager Jim Proce. Id.
ln the meeting, Plaintiff complained about the alleged sexual harassment, hostile work
environment, and violation of City policy by Murray. Ia’. Proce asked Plaintiff and another
employee to talk to City Manager Brian Funderburk. Id. Plaintiff and the other employee had a
meeting With Funderburk. Id. Plaintiff claims that Funderburlc was “reluctant to believe” the
allegations and “did not want to take any action against . . . Murray.” Id.

City Attorney David Berman learned of the complaints and hired an external
investigator/attorney, Lu Pham, to conduct an investigation Id. 1[ 3.4. After three days of
interviews with more than ten employees, Pharn submitted a report advising Defendant and
Funderburk to terminate Murray’s employment Id. Funderburl< allegedly called Pham asking if
there was any other Way to address the issue. Id. ln May of 201 5, Murray provided his resignation
and retired in lieu of being terminatedl Id. Plaintiff contends that “Funderburk was resentful that
he was forced to terminate . . . Murray.” Id. According to Plaintiff, Funderburk began retaliating
against her for her role in the investigation Id.

ln July of2()15, Funderburk asked Plaintiff and a co-worker, Jessica Perkins, to take a drug
test. Ia'. 11 3.5. He also placed the two women under investigation because one of their co-workers
allegedly made comments about potential drug use. Id. Plaintiff wrote a letter to the Interim HR
Manager, lrene Kasujji, stating that the investigation and drug test request were against City policy.
]d. Nevertheless, Plaintiff alleges that She and Perkins “were forced to submit to a drug test and
polygraph test under threat of termination.” Ia’. 1[ 3.7. Plaintiff refused the tests. Id. Perl<ins took

the tests and passed both. Id.

 

 

 

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Plaintiff next contends that Funderburl< mishandled an incident with Chief of Police l\/lil<e
Brodnax. On July 19, 2017, Brodnax came into the HR building Id. 11 3.9. While in the building,
Brodnax noticed an investigator from the Dallas Police Department was sitting in the HR
Generalist’s office. Id. The investigator was reviewing the file of an employee who had
voluntarily resigned and was eligible for rehire with the City. Id. Brodnax asked the investigator
whose file she was reviewing, and she responded that it was police officer Julian McDaniel’s file.
ld. Brodnax allegedly stated that “he heard a ‘rumor’ that . . . McDaniel quit because [the job]
‘interfered with his dope smoking”’ and that “if [McDaniel] wanted to come back to [Brodnax’s]
department, he would need to pass a polygraph on his drug use.” Id. The investigator allegedly
wrote down this information Id. Plaintiff states that upon hearing about this incident, she was
“overcome with extreme anxiety” because it created liability for the City. Id. 11 3.10. Plaintiff sent
an email containing her concerns to the new HR Director, Richard Jones. Id. She asked him to
pass the information along to Funderburk. Id. Plaintiff informed Jones and Funderburk that
Brodnax’s conduct violated the City’s Policy l\/lanual. Id. Plaintiff alleges that Brodnax was not
reprimanded Id. 11 3.11.

Plaintiff alleges further misconduct by Funderburk in connection with the Municipal Court.
According to Plaintiff, Judge Pam Liston hired a good friend of hers, Dretha Burris, in September
2017. Id. 1l 3.12. Plaintiff claims that Judge Liston is not responsible for the Municipal Court’s
hiring process Id. Funderburk allegedly approved Burris’s salary to be “well above the
minimum” and “rushed” Burris’s start date. Id. Again, Plaintiff complained to numerous
management personnel, including Jones, but Plaintiff contends that she “was instructed to do as

Judge Liston requested.” Id.

 

 

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Plaintiff next alleges that, in 2017, a Rowlett police officer notified HR of sexual
harassment taking place within her departmentl Id. 11 3 . 14. Plaintiff requested that HR investigate,
but J ones allegedly refused to do so. Id.

In 2017, independent Management Consultant Riley Harvill conducted an assessment with
court staff. Id. 11 3 . l 5. He allegedly concluded that the environment was hostile and that the court
staff was afraid of Judge Liston. Id. Funderburk received a copy of the report but allegedly did
nothing to remedy the situation Id.

ln September of 20 17, J ones allegedly informed Plaintiff that he Was getting pressure from
Funderburk to terminate her. ld, 11 3. l 6. At this time, Plaintiff again complained about the hostile
work environment cultivated by Funderburk in retaliation for Plaintiff” s complaints against
Funderburk “or his management friends.” Id. Plaintiff told Jones that work was “becorning
unbearable” and that “she would cry every morning on her way to work.” Id.

On October 3, 2017, Jones gave Plaintiff two reclassification packets that Badgett had
submitted to Funderburk. ]d. 11 3.l7. The purpose of the packets was to reclassify positions with
title changes and pay increases Id. 'l`he packets supposedly were authored by Badgett, but
Plaintiff believed, based on her prior working experience With l\/lurray and Badgett, that l\/lurray
authored the packets. Id. Plaintiff informed Badgett, Jones, and Funderburk that she questioned
the authenticity of the packets and complained orally and in writing that Badgett had distributed
confidential information to a former employee of Defendant in violation of the Texas Government
Code.l Id. 11 3.18. Plaintiff alleges that Funderburk “failed to conduct a reasonable and proper
investigation and ignored [Plaintiff’ s1 complaint.” Id. Two days later, on October 5, Funderburk

told Plaintiff that he was terminating her. Id. The termination became official on October 6. Ia’.

 

1 Plaintiff alleges that she again reported Badgett’s conduct to Funderburk on October 5, 201'7. Compl. 113.18.
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The City Secretary’s office lists all terminations, along with the reasons for each
termination, for the last three years. ld. 11 3.19. Plaintiff and one other employee, Kim Wilson,
were listed as “Involuntary Termination” for “Misconduct.” Id. According to Plaintiff, they are
the only two employees to ever be terminated for misconduct ld. Plaintiff contends that she and
Wilson were listed this way because they both refused to sign Defendant’s Separation Agreement
and because they retained an attorney. ]d. 11 3.20.

Based on the foregoing allegations, Plaintiff asserts three causes of action under Title Vil
of the Civil Rights Act of 1964 (“Title VII”): (l) sexual harassment and sexually hostile work
environment, (2) retaliation, and (3) gender discrimination She also asserts two causes of action
under Chapter 21 of the Texas Labor Code (“Chaptei‘ 21”): (1) sexual harassment and sexually
hostile work environment and (2) retaliation2 Finally, she brings a cause of action for a violation
of the Texas Whistleblower Protection Act. Defendant moves to dismiss all of Piaintiff’s causes
of action under Rule lZ(b)(6) for failure to state a claim upon which relief can be granted

II. RULE 12(1))(6)

To defeat a motion to dismiss filed pursuant to F ederal Ruie of Civil Procedure 12(b)(6), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell An'.
Corp. v. Twombly, 550 U.S. 544, 570 (2007); Reliable Consultants, Irzc. v. Earle, 517 F.3d 738,
742 (Sth Cir. 2008). To meet this “facial plausibility” standard, a plaintiff must “pleadl} factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require

probability, but a plaintiff must establish “more than a sheer possibility that a defendant has acted

 

2 Because the law governing claims under Chapter' 21 and Title VIl is identical, the Court will refer only to Title Vll
throughout its analysisl Howevei‘, the Court’s findings apply to Plaintiff’s Chapter 21 claims as well. See Shackel'fora'
v. Delor°tte & Touche, LLP, 190 P`.3d 398, 403 ri.2 (5th Cir. 1999).

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unlawfully.” Id. The court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiff Sonnier v. Stat'e Fcirm Mut. Airto. IHS. Co., 509 F.3d 673, 675 (5th Cir.
2007). However, the court does not accept as true “conclusory allegations, unwarranted factual
inferences, or legal conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776, 780 (Sth Cir. 2007). A
plaintiff must provide “more than labels and conclusions, and a formulaic recitation of the elements
of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal citations omitted). “Factual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal
citations omitted).

The ultimate question is whether the complaint states a valid claim when viewed in the
light most favorable to the plaintiff Great Plai'ns Tr. Co. v. Morgan Stanley Dean Wr'n‘er & Co.,
313 F.3d 305, 312 (Sth Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiffs likelihood of success. lt only determines whether the plaintiff has stated a claim upon
which relief can be granted Mann v. Adam.s Realry Co., 556 F.2d 288, 293 (5th Cir. 19'77).3

III. ANALYSIS

A. Sexmrl Hamssment and Sexually Hostile Work Environment (Tl'tle VH and
Clmpter 21)

Under Title Vll, it is “an unlawful employment practice for an employer . . . to discriminate
against any individual with respect to his compensation, terms, conditions, or privileges of
employment, because of such individual’s . . . sex.” 42 U.S.C. § 2000e-2(a)(l). A plaintiff can

establish “that she was sexually harassed in violation of Title VII by proving, inter alia, that the

 

3 The Court notes that many of the cases cited by Defendant in its Motion relate to summary judgments A case
involving a summary judgment motion is not authority for dealing with a Rule 12(b)(6) motion unless the case
specifically states or holds that a party has failed to allege, assert, or set forth sufficient facts to state a claim upon
which relief can be granted

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harassment created a hostile or abusive working environment.” Harvz`ll v. Wesmard Commc ’ns,
L.L.C., 433 F.3d 428, 434 (5th Cir. 2005) (citing Woods v. Dclta Beverage Grp., Inc., 274 F.3d
295, 298 (5th Cir. 2001)). To establish a hostile work environment claim, a plaintiff must show
that: “(1) she is [a] member of a protected group; (2) she was the victim of uninvited sexual
harassment; (3) the harassment was based on sex; (4) the harassment affected a ‘term, condition,
or privilege’ of [the plaintiff s1 employment; and (5) her employer knew or should have known of
the harassment and failed to take prompt remedial action.” Id. (quoting Woods, 274 F.3d at 298).
“fE]mployees bringing a Title Vll sexual harassment case alleging that a supervisor with
immediate (or successively higher) authority over the employee harassed the employee need only
satisfy the first four elements of [thisj test . . . .” Warts v. Kroger Co., 170 F.3d 505, 509 (5th Cir.
1999).

Defendant does not contest whether Plaintiff was a member of a protected group. With
respect to the second, third, and fourth elements, Defendant argues that all of Plaintift’ s harassment
allegations are lacking facts to support at least one elementl As to the final element, Defendant
seemingly concedes that Plaintiff’s alleged harasser was her supervisor. However, Defendant
argues that it has an affirmative defense to vicarious liability4

The Court finds that Plaintiff’ s pleadings do not adequately allege the second and third
elements-uninvited sexual harassment based on sex. The Fifth Circult has c‘defined ‘unwelcome
sexual harassment’ as ‘sexual advances, requests for sexual favors, and other verbal or physical
conduct of a sexual nature that is unwelcome in the sense that it is unsolicited or unincited and is

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undesirable or offensive to the employee Mar'quez v. Voi'cestream Wireless Corp., 115 F. App’x

 

“ Because “a successful affirmative defense” does not “appear{] clearly on the face of the pleadings,” the Court
declines to dismiss Plaintiff’s case on this basis. Cla:'k v. Amoco Prod. Co., 794 F.2d 967, 970 (Sth Cir. 1986).

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699, 701 (Sth Cir. 2004) (quoting Wyerick v. Bayou Steel Corp., 887 F.2d 1271, l274 (5th Cir.
1989)). Conduct that has been found to constitute sexual harassment includes propositioning an
individual for sex, touching and fondling, promoting a sexually charged environment, and
implying or stating that an individual is incompetent because of her sex. See Pfei`l v. lnrecom
Telecomms., 90 F. Supp. 2d 742, 748 (N.D. Tex. 2000) (collecting cases); see also Marqtrez, 115
F. App’x at 701-02 (finding no evidence of unwelcome sexual harassment where defendant did
not make sexual advances, request sexual favors, or engage in verbal or physical conduct that was
sexual in nature).

Plaintiff’s allegations regarding Muri'ay’s conduct are sufficient to satisfy the second and
third elements Plaintiff alleges that Murray touched staff members’ breasts, asked Plaintiff about
her personal sex life, and asked Plaintiff to touch his pecs and biceps. These facts, taken as true,
are adequate to satisfy Plaintiff’ s burden to plausibly allege unwelcome harassment based on sex.
See, e.g., Farpella-Crosby v. Horr'zon Health Care, 97 F.3d 803, 805 (5th Cir. 1996) (affirming
entry of judgment for plaintiff on hostile work environment sexual harassment claim where
supervisor commented on and asked about plaintiffs sex life). llowever, because these actions
occurred more than 300 days before Plaintiff filed a charge with the Equal Employment
Opportunity Commission (“EEOC”), they are time-barred unless Plaintiff can establish a
“continuing violation.” See Frank v. Xerox Corp., 347 F.3d 130, 136 (Sth Cir. 2003) (“A claimant
must file a Title Vll discrimination claim with the EEOC within 300 days of the challenged
discrimination.”); Pegram v. Honeywell, Inc., 361 F.3d 272, 279 (Sth Cir. 2004) (“[H]ostile
environment claims ‘Will not be time barred so long as all acts which constitute the claim are part

of the same unlawful practice and at least one act falls within the time period.”’ (quoting Nat’l

 

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R.R. Pas.s'enger Corp. v. Morgun, 536 U.S. 101, 1 13 (2002))). For the following reasons, Plaintiff
has failed to allege a continuing violation

Plaintiff’ s only timely allegations, those regarding purported sexual harassment after
Murray’s termination, are insufficient to satisfy the second and third elements Plaintiff alleges
that Funderburk tried to force Plaintiff to take a drug and polygraph test, placed Plaintiff under
investigation, refused Plaintiff’s requests to investigate the sexual harassment complaints of
another employee, and refused to take action when Harvill determined that the work environment
was hostile. Compl. 1111 3.5~3.7, 3.13-3.15. Plaintiff also alleges that Jones informed Plaintiff that
he was getting pressure from Funderburk to terminate Plaintiff and that Funderburk ultimately
terminated Plaintiff Ia’. 1111 3. l6, 3 . l 8. Evcn accepting all of these facts as true, the Court concludes
that Plaintiff has not pleaded that she was subjected to harassment based on sex. For instance,
Plaintiff does not allege that liarvill concluded that the environment was only hostile for female
employeesl “When the conduct is equally harsh towards men and women, there is no hostile work
environment based on sex.” Reine v. Honeywell Inr’l Inc., 362 13 . App’x 395, 397 (5th Cir. 2010).
And, none of the other conduct alleged is analogous to unwelcome sexual advances, requests for
sexual favors, or other verbal or physical conduct of a sexual nature See Marquez, 115 F. App’x
at 701-02; Pfeil, 90 F. Supp. 2d at 748.

Even taking the post-l\/Iurray incidents in the context of Plaintiff’s hostile working
environment claim as a whole, the Court concludes that Plaintiff has failed to establish a continuing
violation Therefore, the Court grants Defendant’s l\/lotion to Dismiss as to Plaintiff s sexual

harassment claims.

 

 

 

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B. Remliation (Title WI and Ckapter 21 )

To assert a claim of retaliation under Title Vll, a plaintiff must show that: (1) she engaged
in an activity protected by Title Vll; (2) the employer took an adverse employment action against
her‘, and (3) there is a causal connection between the protected activity and the adverse employment
action. Brazoria Cly. v. EEOC, 391 F.3d 685, 692 (5th Cir. 2004).

As to the first element, an employee has engaged in protected activity when she has either
“opposed any practice made an unlawful employment practice” by Title Vll or “made a charge,
testified, assisted, or participated in any manner in an investigation, proceeding, or hearing under”
Title Vll. 42 U.S.C. § 2000e-3 (a). 'l`he Court finds that, at this stage, Plaintiff has pleaded
sufficient facts to render it plausible that she engaged in protected activity. Further, Plaintiff has
adequately pleaded that Defendant took one or more actions against her that would “dissuade a
reasonable worker from making or supporting a charge of discrimination.” Burlington N. & Su'nta
Fe Ry. Co. v. Whi`te, 548 U.S. 53, 57 (2006). And, at this stage, Plaintiff has sufficiently alleged
that there is a causal connection between the protected activity and the adverse action. Therefore,
the Court denies Defendant’s Motion to Dismiss as to Plaintiff"s Chapter 21 and Title Vll
retaliation claims.

C. Gender Discrr'mimltion (Tr`tle VII)

To establish a prima facie case of gender discrimination under Title Vll, a plaintiff must
show that: “( 1) she is a member of a protected class, (2) she was qualified for her position, (3) she
suffered an adverse employment action, and (4) others similarly situated were more favorably
treated.” Rurherford v. Harris C[y., 197 F.3d 173, 184 (5th Cir. 1999) (citing Urbano v. Conl’l
Ar`rlines, Inc. , 138 F.3d 204, 206 (5th Cir. 1998)). At the motion to dismiss stage, the plaintiff does
not have to submit evidence to establish a prima facie case, but she must plead sufficient facts on

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all of the ultimate elements cfa gender discrimination claim to make her case plausible Chhr`m v.
Um'v. OfTex. atAusrz'n, 836 F‘?)d 467, 470 (5th Cir. 2016) (citing Raj v. La. Smte Um`v., 714 F.3d
322, 331 (5th Cir. 2013)).

Defendant only attacks the final element of Plaintiff’s prima facie case. Defendant
contends that Plaintiff failed to plead that similarly situated males Were treated more favorably
than Plaintiff. The Court disagrees Plaintiff alleges that she and another female Were the only
employees ever terminated for misconduct Compl. ll 3.19. She also lists five similarly situated
males who were allowed to resign or retire, meaning they, unlike Plaintiff, were eligible for rehire.
Id. ll 3.21. Therefore, the Court finds that Plaintiff has pleaded sufficient facts to make her claim
plausible and denies Defendant’s Motion to Dismiss as to Plaintiff’s gender discrimination claim.

D. Texas Whistleblower Act

The Texas Whistleblower Act prohibits governmental entities from suspending,
terminating, or taking other adverse personnel actions against “a public employee Who in good
faith reports a violation of law by the employing governmental entity or another public employee
to an appropriate law enforcement authority.” TEX. GOV’T CODE ANN. § 554.002(a). “The
limitations period to sue under the Whistleblower Act is ninety days after the alleged violation
occurred or was discovered by the employee.” Jackson v. Um'v. of Tex. Health Sci. Cir. Police
Dep ’t, No. 04-03-00553-CV, 2004 WL 572330, at *2 (Tex. App._San Antonio Mar. 24, 2004,
no pet.) (citing TEX. GOV’T CODE ANN. § 554.005). if the employer has a grievance or appeal
procedure, however, the employee must initiate action under the employer’s grievance or appeal
procedures TBX. GOV"F CODE ANN. § 554.006(a). “Time used by the employee in acting under

the grievance or appeal procedure is excluded” from the 90-day period. Id. § 554.006(0).

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“lt is well settled . . . that in order for a defendant to prevail on the basis of limitations at
the pleadings stage, the plaintiff must normally plead §herself] out of court.” Funches v. City of
Dallas, No. Civ. A. 3 :99-CV-0224-D, 1999 WL 261842, at *2 (N.D. Tex. Apr. 28, l999); see also
Jones v. Alcoa, lnc., 339 F.3d 359, 366 (5th Cir. 2003) (“A statute of limitations may support
dismissal under Rule 12(b)(6) Where it is evident from the plaintiff’ s pleadings that the action is
barred and the pleadings fail to raise some basis for tolling or the like.”). In this case, Plaintiff has
pleaded herself out of court. The last action Plaintiff alleges in connection with her Whistleblower
Act claim is her termination, which occurred on October 5, 2017, approximately three hundred
days before she filed suit on August 1, 2018. Compl. 1§ 4.86. Plaintiff also alleges that, to the
extent Defendant had an appeal procedure, she “exhausted all administrative appeals . . . by writing
a letter appealing her termination and submitting said letter on the afternoon of October 5, 2017.”
Id. 11 4.87.

Based on Plaintiff" s current pleadings she would have been required to file suit in January
20l 8, 90 days after her termination and 90 days after she fulfilled the requirements of Defendant’s
appeal procedure5 Plaintiff did not tile suit until August l, 2018, so the face of her Complaint
establishes Defendant’s limitations defense Thus, the Court grants Defendant’s l\/Iotion to
Dismiss as to Plaintiff’s Whistleblower Act claim. However, because Plaintiff contends in her
Response that she can “amend the Pleadings to detail what adverse actions occurred in 2018 and/or
were discovered in 2018 relating to the Whistleblower [Act] claims,” the Court will permit her to

replead. Resp. 2l.

 

5 Ii` Plaintiff did not receive a final decision before the 61St day after the date she initiated the procedure, she had two
options First, she could exhaust the applicable procedures, which she claims she did. TEX. GOV’T CODE ANN. §
554.006(d)(l). She had 30 days after such exhaustion to file suit. Id. Second, she could terminate the procedure and
then sue within the time remaining under the 90-day limitations period Id. § 554.006(d)(2). Under either opticn, her
claims are untimely

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IV. CONCLUSION

For the foregoing reasons, the Court denies Defendant’s Motion to Dismiss as to Plaintiff’ s
Title Vll and Chapter 21 retaliation claims and Title VII gender discrimination claim. The Court
grants Defendant’s Motion to Dismiss as to Plaintiff’s Title VII and Chapter 21 sexual harassment
claims and 'l`exas Whistleblower Act claims and dismisses those claims without prejudice The
Court grants Plaintiff"s request for leave to amend. Plaintiff must file an amended complaint no
later than April l, 2019.

SO ORDERED.

SIGNED l\/larch L/ ,2019. §c/é_`__-_\

KA/REN GREN SCH()LER
UNITED STATES DISTRICT JUDGE

 

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